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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
VS.                                              )   CR. NO. 06-00199-CG
                                                 )
MARTIN CHARLIE LARNEY,                           )
                                                 )
       Defendant.                                )

                                             ORDER

       This matter is before the court on the United States’ Motion for Reduction of Sentence

pursuant to Rule 35(b),Federal Rules of Criminal Procedure. (Docs.80, 82) and the defendant’s

response (Doc. 83). The United States asks the court to reduce the defendant’s sentence by 50%

off the low end of his guideline range because he provided substantial assistance in the

investigation and prosecution of numerous other person, one of which was higher in the drug

organization than Larney. The defendant responded, requesting more than the 50%

recommended reduction.

       Upon due consideration of the grounds presented, the court finds that the United States’

motion is well taken and hereby GRANTS the motion. Based upon all information presented,

the court finds that the recommendation of the government provides for an appropriate sentence

that adequately rewards the defendant for his substantial assistance while still meeting the

statutory sentencing considerations.

       Therefore, it is ORDERED that defendant MARTIN CHARLIE LARNEY’s sentence

hereby is amended, and his term of imprisonment is reduced from 235 months to 118 months.

All other terms and conditions of the sentence and judgment remain the same.

       DONE and ORDERED this 27th day of August, 2008


                                             /s/ Callie V. S. Granade
                                             CHIEF UNITED STATES DISTRICT JUDGE
